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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                        Alexandria Division



PRO-FOOTBALL,INC.,

                        Plaintiff,
                                                              Civil No. l:14-cv-01043

               V.
                                                              Hon. Liam O'Grady
AMANDA BLACKHORSE,et ai..

                        Defendants.


                                               ORDER


        This matter comes before the Court on the consent motion filed by Plaintiff Pro-Football,

 Inc.("PFI"), requesting entry ofjudgment in its favor. See Dkt. 173. There being no opposition

 thereto from Defendants Amanda Blackhorse, Marcus Briggs-Cloud, Phillip Gover, Jillian

 Pappan and Courtney Tsotigh ("Defendants") or Intervenor United States of America, and it

 otherwise appearing proper to do so, it is hereby

        ORDERED that the parties' consent motion(Dkt. 173) is GRANTED;and it is further

        ORDERED that the June 18, 2014 decision of the Trademark Trial and Appeal Board

 scheduling the cancellation of Trademark Registration Nos. 1,606,810; 1,085,092; 987,127;

 986,668; 978,824; 836,122 is hereby VACATED; and it is further

        ORDERED that this matter is REMANDED to the United States Patent and Trademark

 Office for further proceedings; and it is further

        ORDERED that all parties shall bear their own costs.

        It is SO ORDERED.



 March!^O2018                                                 Liam"t)^Q^
 Alexandria, Virginia                                         United St^^Q^trict Judge
